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                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW HAMPSHIRE

Immaculee Muhizi,

       Plaintiff

v.                                                             Civil Case No. 1:21-cv-_______

B-X Concord, LLC
d/b/a
The Birches at Concord,

       Defendant.

                                NOTICE OF REMOVAL
                             AND DEMAND FOR JURY TRIAL

       PLEASE TAKE NOTICE that pursuant to 28 U.S.C. §§1441 B-X CONCORD, LLC

d/b/a THE BIRCHES AT CONCORD, by and through its attorneys, JACKSON LEWIS P.C.,

hereby removes this action from the Superior Court of the State of New Hampshire, Merrimack

County, to the United States District Court for the District of New Hampshire.

       In support of this Notice of Removal, Defendant states as follows:

       1.      On or about, March 28, 2018, Immaculee Muhizi dual-filed a Charge of

Discrimination with the New Hampshire Commission for Human Rights (“NHCHR”) (Charge

No. EDCR NO(R) 0158-18) and the Equal Employment Opportunity Commission (“EEOC”)

(Charge No. 16D-2018-00185) against B-X Concord, LLC d/b/a The Birches at Concord. A copy

of Plaintiff’s Charge of Discrimination is appended hereto as Exhibit 1.

       2.      By letter sent by email to Defendant on October 7, 2021, the NHCHR issued a

finding of probable cause and scheduled a public hearing to be held on January 19, 2022, under

the authority of NH RSA 354-A:21, on the following issues:

               a)     Whether Complainant was subjected to race discrimination in
                      violation of NH RSA 354-A, et seq.?
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               b)      Whether Complainant was subjected to color discrimination in
                       violation of NH RSA 354-A?
               c)      Whether Complainant was subjected to national origin
                       discrimination in violation of NH RSA 354-A, et seq.?
               d)      Whether Complainant was subjected to retaliation by Respondent
                       in violation of NH RSA 354-A, et seq.?

       3.      Pursuant to NH RSA 354-A:21-a, on November 5, 2021, Defendant transferred

the Charge to the Merrimack County Superior Court for a trial by jury. A copy of Defendant’s

Notice of Transfer to Superior Court and Request for Jury Trial Pursuant to NH RSA

354-A:21-A and Summons are attached hereto as Exhibit 2. A certified copy of the state court

record will be filed upon receipt of same from the Merrimack County Superior Court.

       4.      Pursuant to 28 U.S.C. § 1446(a), this notice of removal is timely filed within

thirty (30) days of November 5, 2021, the date on which Defendant transferred the matter to the

Merrimack County Superior Court.

       5.      This Court has original jurisdiction over this action by virtue of federal question

jurisdiction pursuant to 28 U.S.C. §1331. Specifically, Plaintiff alleges discrimination on the

basis of race and national origin in violation of Title VII of the Civil Rights Act of 1964, and

retaliation due to her requests for reasonable accommodation for her alleged disability in

violation of the Americans with Disabilities Act of 1990 (“ADA”) and the Americans with

Disabilities Act Amendments Act (“ADAAA”), 42 U.S.C. § 12101, et seq., as well as under state

law, NH RSA 354-A, et seq.

       6.      Defendant submits this Notice without waiving any defenses to the claims

asserted by Plaintiff or conceding that Plaintiff has pled claims upon which relief can be granted.

       7.      As this action could have been commenced in this Court, removal is proper.

28 U.S.C. §1441(a). Furthermore, this Court may exercise supplemental jurisdiction over the

Plaintiff’s state law claims. See 28 U.S.C. §1367(a).


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                                              Respectfully Submitted,
                                              B-X CONCORD, LLC d/b/a
                                              THE BIRCHES AT CONCORD,
                                              By its attorneys,
                                              JACKSON LEWIS P.C.,


Date: November 15, 2021                       By:    /s/ Martha Van Oot
                                                     Martha Van Oot, NHBA #963
                                                     100 International Drive, Suite 363
                                                     Portsmouth, NH 03801
                                                     603.559.2700
                                                     Martha.vanoot@jacksonlewis.com


                                       Certificate of Service

        I hereby certify that copies of the foregoing were this day served, via email and the
court’s electronic filing system, on pro se Plaintiff, Immaculee Muhizi,
immaculeemu2004@yahoo.com.


Date: November 15, 2021                              /s/ Martha Van Oot
                                                     Martha Van Oot




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